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                             EXHIBIT “B”
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 Attorney for Defendants, Trucking by Faith, LLC and Lonnie Johnson

  BELA LOWY,                                        SUPERIOR COURT OF NEW JERSEY
                               Plaintiff,           UNION COUNTY
       vs.                                          LAW DIVISION

  LONNIE JOHNSON and TRUCKING BY                    DOCKET NO.: UNN-L-002463-21
  FAITH, LLC,
                                                    CIVIL ACTION
                         Defendants.                ORDER




         THIS MATTER having been brought before the Court on Motion of Cipriani & Werner,

 P.C., Grant C. Wright, Esq., appearing, attorneys for Defendants, Lonnie Johnson and Trucking

 by Faith, LLC, for an Order quashing the service of the summons and complaint purportedly

 made on Defendants, and the Court having considered the supporting papers and for good cause

 being shown;

         IT IS ON THIS           day of NOVEMBER, 2021;

         ORDERED that service of process of the summons and complaint on Defendants,

 Lonnie Johnson and Trucking by Faith, LLC, is hereby QUASHED due to improper service of

 process; and it is further

         ORDERED that a copy of this Order shall be deemed served upon all counsel of record

 with filing of this Order on the New Jersey Courts online e-filing system;
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          IT IS FURTHER ORDERED that service of this Order shall be deemed effectuated

 upon all parties upon its upload to eCourts. Pursuant to Rule 1:5-1(a), movant shall serve a copy

 of this Order on all parties not served electronically within seven (7) days of the date of this

 Order.


                                                          ______________________________
                                               ______________________________________
                                                                                , J.S.C.
  Opposed

  Unopposed
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